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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 16-011V

*************************
                                      *                          Special Master Corcoran
KATHLEEN BERRETT, as Personal         *
Representative of the ESTATE OF C.B., *
deceased,                             *
                                      *
                       Petitioner,    *                          Filed: November 2, 2018
                                      *
              v.                      *
                                      *                          Decision by Stipulation; Damages;
SECRETARY OF HEALTH                   *                          Human papillomavirus (“HPV”)
AND HUMAN SERVICES,                   *                          Vaccine; Transverse myelitis (“TM”).
                                      *
                       Respondent.    *
                                      *
*************************


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Camille M. Collett, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

       On January 4, 2016, Kathleen Berrett filed a petition on behalf of her minor child, C.B.,
seeking compensation under the National Vaccine Injury Compensation Program (“Vaccine
Program”).2 Petitioner alleges that C.B. suffered from transverse myelitis (“TM”) as a result of his



1
  Although this Decision has been formally designated “not to be published,” it will nevertheless be posted on the
Court of Federal Claims’s website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). This
means the Decision will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision in its present form will be
available. Id
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
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February 1, 2014, receipt of the human papillomavirus (“HPV”) vaccine. Moreover, Petitioner
alleges that C.B. experienced residual effects of this injury for more than six months.

        Respondent denies that the HPV vaccine caused C.B. to suffer from TM, or any other injury
or condition. Nonetheless both parties, while maintaining their above-stated positions, agreed in a
stipulation (filed on November 2, 2018) that the issues before them could be settled, and that a
decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
(as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

             A lump sum of $268,256.64 in the form of a check payable to Petitioner; and

             A lump sum of $208,432.51, which represents reimbursement of a lien for services
              rendered on behalf of C.B., in the form of a check payable jointly to Petitioner and

                                            Utah Department of Human Services
                                                Office of Recovery Services
                                               Case #C001359202/Team 85
                                                    515 East 100 South
                                                      P.O. Box 45025
                                              Salt Lake City, UT 84145-0025

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under Section 15(a) of the Act.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith.3


         IT IS SO ORDERED.


3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
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                                     /s/ Brian H. Corcoran
                                        Brian H. Corcoran
                                        Special Master




                              3
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